AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                            EASTERN DISTRICT
                                                __________       OFofNORTH
                                                           District          CAROLINA
                                                                      __________
                                                     EASTERN DIVISION

                   LYNANNE WARE                                )
                             Plaintiff                         )
                                v.                             )       Case No.
                       RELIAS, LLC                             )
                            Defendant                          )

                                                  APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiff                                                                                                    .


Date:     02/03/2025                                                                    /s/ Scott C. Harris
                                                                                          Attorney’s signature

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                   Case 4:25-cv-00023-M-RN               Document 3       Filed 02/03/25         Page 1 of 1
